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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY
______________________________________________________________________________
TRUSTEES AND FIDUCIARIES OF THE           :
SHEET METAL WORKERS LOCAL                 : CIVIL ACTION NO. 20-04674
UNION NO. 25 NEW JERSEY                   :
ANNUITY FUND, et. al                      :
                        Plaintiffs        :
v.                                        :
                                          :
PRECISION AIR BALANCING                   :
                        Defendant.        :
______________________________________________________________________________

       WITHDRAWAL BY VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       Plaintiffs hereby withdraw the above captioned lawsuit by voluntary dismissing it

without prejudice pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure.

                                                    CLEARY, JOSEM & TRIGIANI LLP

                                            BY:            /s/ Ryan R. Sweeney
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                                                    RYAN R. SWEENEY, ESQUIRE
                                                    Constitution Place
                                                    325 Chestnut Street, Suite 200
                                                     Philadelphia, PA 19106
                                                     (215) 735-9099

Dated: January 13, 2021
                                            So Ordered.


                                            ____________________________________
                                            Hon. Madeline Cox Arleo
                                            US District Judge
